                       Nos. 22-1932, -1933, -1934, -1935

                  United States Court of Appeals
                      for the Federal Circuit
                 ______________________________________
             EOLAS TECHNOLOGIES INCORPORATED,
                                         Plaintiff-Appellant,
                                v.
          AMAZON.COM, INC., GOOGLE LLC, WALMART, INC.,
                                         Defendants-Appellees.
              ______________________________________
   Appeals from the United States District Court for the Northern District of
California in Nos. 4:17-cv-03022-JST, 4:17-cv-01138-JST, 4:17-cv-03023-JST,
                              Judge Jon S. Tigar
                ______________________________________
                                   GOOGLE LLC,
                                                   Plaintiff-Appellee,
                               v.
                EOLAS TECHNOLOGIES INCORPORATED,
                                       Defendant-Appellant,
            REGENTS OF THE UNIVERSITY OF CALIFORNIA,
                                          Defendant.
               ______________________________________
    Appeals from the United States District Court for the Northern District of
           California in No. 4:15-cv-05446-JST, Judge Jon S. Tigar
                ______________________________________
                         BRIEF OF APPELLEES
                 ______________________________________
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                                        Boston, MA 02109
                                        Counsel for Appellee Walmart, Inc.
                   Additional Counsel Listed in Signature Block
Claim 32 of U.S. Patent No. 9,195,507 (Appx78) provides:

       32. A method, performed by a server computer connected to the World
   Wide Web distributed hypermedia network on the Internet, for disseminating
   interactive content via the World Wide Web distributed hypermedia network
   on the Internet, the method comprising:

      A. receiving, by the server computer, a request for information; and

      B. transferring, by the server computer, the information onto the World
         Wide Web distributed hypermedia network on the Internet, wherein:

         (i) a World Wide Web browser on a client computer connected to the
             World Wide Web distributed hypermedia network has been
             configured with a plurality of different interactive-content
             applications, each said interactive-content application being
             configured to enable a user to interact, within one or more World
             Wide Web pages, with at least part of one or more objects while at
             least part of each of said one or more objects is displayed to the user
             within at least one of said one or more World Wide Web pages, and

         (ii) at least part of the information is configured to allow the World
             Wide Web browser on the client computer to:

            a. detect at least part of an object to be displayed in a World Wide
               Web page, and

            b. cause a display of the World Wide Web page to a user,

         (iii) the World Wide Web browser has been configured to:

            a. select an interactive-content application, based upon the
               information, from among the different interactive-content
               applications, and

            b. automatically invoke the selected interactive-content application
               to enable the user to employ the selected interactive-content
               application to interact within the World Wide Web page with at
               least part of the object while at least part of the object is displayed
               to the user within the World Wide Web page,
               wherein the automatically invoked interactive-content
                 application has been configured to operate as part of a
distributed application configured to enable a user to perform
the interaction through the use of communications sent to and
received from at least a portion of the distributed application
located on two or more distributed application computers
connected to the World Wide Web distributed hypermedia
network on the Internet, the two or more distributed
application computers being remote from the client computer.




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                         CERTIFICATE OF INTEREST

Case Numbers:             22-1932, 22-1933, 22-1934, 22-1935

Short Case Caption:       Eolas Technologies Inc. v. Amazon.com, Inc.

Filing Party/Entity:      Amazon.com, Inc., Appellee

I certify the following information is accurate and complete to the best of my
knowledge.

 Date: December 15, 2022           Signature:       /s/ Gabriel K. Bell
                                   Name:            Gabriel K. Bell


1.    Represented Entities. Provide the full names of all entities represented by
      undersigned counsel in this case.

      Amazon.com, Inc.

2.    Real Party in Interest. Provide the full names of all real parties in interest
      for the entities. Do not list the real parties if they are the same as the entities.

      None.

3.    Parent Corporations and Stockholders. Provide the full names of all parent
      corporations for the entities and all publicly held companies that own 10% or
      more stock in the entities.

      None.

4.    Legal Representatives. List all law firms, partners, and associates that
      (a) appeared for the entities in the originating court or agency or (b) are
      expected to appear in this court for the entities. Do not include those who
      have already entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

      Latham & Watkins LLP (*indicates no longer with firm): Charles S.
      Dameron, Blake R. Davis, Elana Nightingale Dawson, Jeffrey G. Homrig,
      Graham E. Phillips*, Melissa Arbus Sherry, Nicholas H. Yu*

      Fenwick & West LLP: J. David Hadden, Allen W. Wang


                                           iii
     Haltom & Doan: Jennifer H. Doan, Jeffrey R. Roeser, Joshua R. Thane

     Perkins Coie LLP: Grant E. Kinsel

5.   Related Cases. Provide the case titles and numbers of any case known to be
     pending in this court or any other court or agency that will directly affect or
     be directly affected by this court’s decision in the pending appeal. Do not
     include the originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5).
     See also Fed. Cir. R. 47.5(b).

     None.

6.   Organizational Victims and Bankruptcy Cases. Provide any information
     required under Fed. R. App. P. 26.1(b) (organizational victims in criminal
     cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
     47.4(a)(6).

     None/Not Applicable.




                                        iv
                         CERTIFICATE OF INTEREST


Case Numbers:             22-1932, 22-1933, 22-1934, 22-1935

Short Case Caption:       Eolas Technologies Inc. v. Amazon.com, Inc.

Filing Party/Entity:      Google LLC, Appellee

I certify the following information is accurate and complete to the best of my
knowledge.

 Date: December 15, 2022       Signature:       /s/ David A. Perlson (by permission)
                               Name:            David A. Perlson


1.    Represented Entities. Provide the full names of all entities represented by
      undersigned counsel in this case.

      Google LLC

2.    Real Party in Interest. Provide the full names of all real parties in interest
      for the entities. Do not list the real parties if they are the same as the entities.

      None.

3.    Parent Corporations and Stockholders. Provide the full names of all parent
      corporations for the entities and all publicly held companies that own 10% or
      more stock in the entities.

      XXVI Holdings Inc.; Alphabet Inc.

4.    Legal Representatives. List all law firms, partners, and associates that
      (a) appeared for the entities in the originating court or agency or (b) are
      expected to appear in this court for the entities. Do not include those who
      have already entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

      Carl Anderson; Lindsay Cooper; Michael Powell; Michael Trombetta

5.    Related Cases. Provide the case titles and numbers of any case known to be
      pending in this court or any other court or agency that will directly affect or
      be directly affected by this court’s decision in the pending appeal. Do not

                                            v
     include the originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5).
     See also Fed. Cir. R. 47.5(b).

     Eolas Techs. Inc. v. Google LLC, No. 2022-1933 (Fed. Cir.)
     Eolas Techs. Inc. v. Walmart, Inc., No. 2022-1934 (Fed. Cir.)
     Google LLC v. Eolas Techs. Inc., No. 2022-1935 (Fed. Cir.)

6.   Organizational Victims and Bankruptcy Cases. Provide any information
     required under Fed. R. App. P. 26.1(b) (organizational victims in criminal
     cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
     47.4(a)(6).

     None/Not Applicable.




                                       vi
                         CERTIFICATE OF INTEREST


Case Numbers:             22-1932, 22-1933, 22-1934, 22-1935

Short Case Caption:       Eolas Technologies Inc. v. Amazon.com, Inc.

Filing Party/Entity:      Walmart, Inc., Appellee

I certify the following information is accurate and complete to the best of my
knowledge.

 Date: December 15, 2022       Signature:         /s/ Mark C. Fleming (by permission)
                               Name:              Mark C. Fleming


1.    Represented Entities. Provide the full names of all entities represented by
      undersigned counsel in this case.

      Walmart, Inc.

2.    Real Party in Interest. Provide the full names of all real parties in interest
      for the entities. Do not list the real parties if they are the same as the entities.

      None.

3.    Parent Corporations and Stockholders. Provide the full names of all parent
      corporations for the entities and all publicly held companies that own 10% or
      more stock in the entities.

      None.

4.    Legal Representatives. List all law firms, partners, and associates that
      (a) appeared for the entities in the originating court or agency or (b) are
      expected to appear in this court for the entities. Do not include those who
      have already entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).

      Allen & Overy LLP: Bijal V. Vakil, Shamita Etienne-Cummings, Eric E.
      Lancaster

      The Heartfield Law Firm: J. Thad Heartfield, Stephen L. Townsend



                                            vii
     Durie Tangri LLP: Mark Alan Lemley

     Winston & Strawn LLP: Robert L. Green, III, John R. Keville, Eric S.
     Schlichter

     White & Case, LLP: Allen W. Wang, Jason Liang Xu, Thomas C. Flynn

5.   Related Cases. Provide the case titles and numbers of any case known to be
     pending in this court or any other court or agency that will directly affect or
     be directly affected by this court’s decision in the pending appeal. Do not
     include the originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5).
     See also Fed. Cir. R. 47.5(b).

     Eolas Technologies Incorporated v. Google LLC, No. 2022-1933 (Fed. Cir.)
     Eolas Technologies Incorporated v. Walmart, Inc., No. 2022-1934 (Fed. Cir.)
     Google LLC v. Eolas Technologies Incorporated, No. 2022-1935 (Fed. Cir.)
     Eolas Technologies Incorporated v. Google LLC, No. 4:17-cv-01138 (N.D.
     Cal.)
     Eolas Technologies Incorporated v. Walmart Inc., No. 4:17-cv-03023 (N.D.
     Cal.)
     Google LLC v. Eolas Technologies Incorporated et al., No. 4:15-cv-05446
     (N.D. Cal.).

6.   Organizational Victims and Bankruptcy Cases. Provide any information
     required under Fed. R. App. P. 26.1(b) (organizational victims in criminal
     cases) and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R.
     47.4(a)(6).

     None/Not Applicable.




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                      STATEMENT OF RELATED CASES

       The underlying cases gave rise to venue-related mandamus petitions and

orders: In re Google Inc., No. 17-107, 2017 WL 977038 (Fed. Cir. Feb. 23, 2017)

(Prost, C.J.) (granting mandamus and directing transfer to N.D. Cal.); In re Google

Inc., No. 17-103 (Fed. Cir. Nov. 4, 2016) (clerk’s order) (dismissing mandamus

petition).

       In prior appeals involving the patent-in-suit’s initial ancestor, which has the

same specification, this Court: (a) vacated an infringement judgment because a

district court erred in rejecting prior art invalidity defenses in one case, Eolas Techs.

Inc. v. Microsoft Corp., 399 F.3d 1325 (Fed. Cir. 2005) (Rader, J., joined by

Friedman & Plager, JJ.), and (b) affirmed a district court’s judgment of invalidity

over prior art in another case, Eolas Techs. Inc. v. Amazon.com, Inc., No. 12-1632,

521 F. App’x 928 (Fed. Cir. July 22, 2013) (Newman, Bryson & Prost, JJ.) (Fed.

Cir. R. 36).

       A related case is pending but stayed: Eolas Techs. Inc. v. Wal-Mart Stores

Texas, LLC, No. 6:17-cv-242 (E.D. Tex.). Counsel for Appellees are not aware of

other cases pending in this Court or any other court that will directly affect or be

affected by the Court’s decision in these appeals.




                                          xvi
                          STATEMENT OF THE ISSUE

      Whether the district court correctly held that the asserted claims of U.S. Patent

No. 9,195,507 (the “’507 patent”) are ineligible under 35 U.S.C. § 101.

                                 INTRODUCTION

      Starting over 20 years ago, Eolas has indiscriminately sued anyone who

provides interactive content on the web—from Microsoft and Adobe to Frito-Lay

and Citigroup—alleging infringement of a single patent family. Undeterred by

multiple adverse decisions, Eolas secured continuation after continuation in its quest

to own “the interactive web as we know it.” Plaintiffs-Appellants’ Br. 2, Eolas

Techs. Inc. v. Amazon.com, Inc., No. 12-1632 (Fed. Cir. Nov. 28, 2012), 2012 WL

6100517. Here, the district court properly rejected Eolas’s latest attempt because

the asserted claims of the ’507 patent are ineligible under § 101 and the two-step

framework in Alice Corp. Pty. Ltd. v. CLS Bank International, 573 U.S. 208, 216-

18 (2014).

      In Eolas’s own words, the ’507 patent reflects an “idea”—“to embed

interactive content directly into the previously static web pages.”        Appx4927.

Consistent with that abstract characterization, Eolas insists that its claims cover any

interactive web-based applications that use generic distributed computing. Indeed,

Eolas repeatedly sought (and received) broad constructions of the key claim terms,

avoiding any constraints that might limit them to a particular technological solution.
Eolas persuaded the district court to construe the claims to sweep in any distributed

interactive applications on the web, no matter how implemented or achieved—a

hallmark of ineligibility under § 101. That strategy has consequences.

      The asserted claims, as construed, recite purely functional, aspirational

language—not any specific technological solution—for enabling interactivity with

remote objects on a client computer browser using distributed computing.

Consequently, the claims are directed to an abstract idea at Alice step one, as the

district court held. Appx9-30. Eolas’s step one arguments either ignore the plainly

functional nature of the claims, or else are divorced from the specification and the

claim language itself. Likewise, the components identified in the specification for

building the claimed system and achieving its functionality are nothing more than

black box recitations of admittedly conventional technology with no new hardware,

software, or methods suggested, much less required. The claims thus fail Alice step

two as well, as the district court also held. Appx30-36. Eolas’s contrary arguments

identify no inventive concept beyond the abstract idea.

      The asserted claims fall squarely within the type of functional, aspirational

subject matter—untethered to any technological details or improvements—that

§ 101 prohibits. The district court’s summary judgment of ineligibility should be

affirmed.




                                         2
                   COUNTER-STATEMENT OF THE CASE

      A.     Eolas’s Earlier Patents And Prior Litigation

             1.     The Ancestor ’906 Patent And The Microsoft Case

      In October 1994, an application was filed for what would become U.S. Patent

No. 5,838,906 (the “’906 patent,” Appx12252-12285)—the great-grandparent of the

’507 patent. According to Eolas, it allowed “a Web browser to automatically use

any manner of application to display an embedded object and provide interactivity—

such as editing—of that object within the Web page.” Appx5547. In Eolas’s view,

the patent “made possible the interactive web as we know it today.” No. 12-1632

Plaintiffs-Appellants’ Br. 2.

      In 1999, Eolas sued Microsoft alleging infringement by its Internet Explorer

web browser. Eolas Techs. Inc. v. Microsoft Corp., 399 F.3d 1325, 1328 (Fed. Cir.

2005). Microsoft argued that the ’906 patent was invalid over prior art, including a

web browser (called “Viola”) that was already capable of displaying embedded

interactive objects.     Id. at 1329-30.   The district court entered judgment of

infringement, but this Court vacated because the district court erroneously rejected

Microsoft’s prior art defenses. Id. at 1332-35. On remand, the case settled before a

new trial. Blue Br. 5.




                                           3
             2.    Eolas’s Other Failed Suits (Eolas I and II)

       In 2009, Eolas launched a new suit (“Eolas I”) asserting the ’906 patent and a

newly-issued continuation. Appx12532-12553. Eolas claimed ownership of all

interactivity on the web, suing 23 defendants as disparate as Amazon, Google, Frito-

Lay, Citigroup, and Adobe. Eolas insisted: “Dr. Michael Doyle and his co-inventors

had an idea that would change the Internet forever. Their idea: to embed interactive

content directly into the previously-static web pages.” Appx10998.

       At trial, the defendants presented evidence that the Viola web browser and

other prior art invalidated the patents. Appx10730-10738. A veritable “who’s who”

of actual web pioneers came to testify about the state of the art in the early 1990s,

including Sir Tim Berners-Lee, the widely-acknowledged inventor of the web; Eric

Bina, co-founder of Netscape and co-creator of the Mosaic web browser; Pei-Yuan

Wei, inventor of Viola; and Dave Raggett, a key contributor to the development of

the language of webpages (hypertext markup language, “HTML”). Appx10737.

The jury found the asserted claims invalid over Viola and other prior art and the

district court upheld that verdict. Appx10726-10741. This Court affirmed. Eolas

Techs. Inc. v. Amazon.com, Inc., 521 F. App’x 928 (Fed. Cir. 2013).1




   1
      The defendants never admitted that “Web-browser limited claims would not
be obvious.” Blue Br. 6; see Appx10736-10738; Appx12601-12605.

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      After that defeat, Eolas asserted two newly-issued continuations in the same

family, after Google sought a declaratory judgment of non-infringement. Google

Inc. v. Eolas Techs. Inc., No. 3:13-cv-05997-JST (N.D. Cal.) (“Eolas II”);

Appx12758-12772 (counterclaims).        Eolas accused Google of infringement by

providing, inter alia, “web pages and content to be interactively presented in

browsers.” Appx10881; Appx10865-10866. In 2014, Eolas voluntarily dismissed

its claims with prejudice to moot Google’s suit. Appx10885-10887.

      B.     The Asserted ’507 Patent

      In 2011, Eolas filed yet another continuation, which issued as the ’507 patent

on November 24, 2015. See Appx39. The ’507 patent is directed to enabling

interactivity with remote objects on a client computer browser using distributed

computing. Appx39 (Abstract), Appx67 (1:23-26), Appx69 (6:34-7:14).

             1.    The Specification

      According to the specification, existing web browsers allowed users to view

content such as pictures or text. Appx67-68 (1:63-3:49), Appx58 (Fig. 1: prior art).

But the specification states that a browser could not provide interactive applications

(e.g., programs allowing users to manipulate images) because they required more

processing than a user’s computer—and network connections—could typically

handle then. Appx69 (5:36-6:41); Appx4. The patent’s purported solution is

distributing processing across multiple computers on the web. Appx69-70 (6:45-



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7:34); Appx4-5. “[T]asks” that require a lot of processing may be “performed

among two or more computers” (e.g., servers and other computers)—which are

“coordinated” to “work together to perform the task.” Appx72 (11:10-25).2

       The specification admits that the purported invention requires no specific

improvement in computer or network technology. The computers can be any “type[]

or configuration[]”—including “personal computers” and generic “server[s]”—and

require only “basic” and “familiar … components,” such as a “processor,”

“memory,” and “keyboard.” Appx67-69 (1:27-41, 3:59-4:57), Appx70 (8:7-46); see

Appx69 (6:14-18) (“client computers,” such as “personal computers,” are

“common[ly] … connected to the Internet”), Appx72 (11:18-22) (task-completion

can be coordinated by “any” computers).         The specification recognizes that

distributed computing, distributed clients and servers, the Internet, the web (“the

World Wide Web distributed hypermedia network on the Internet”), webpages

(which are “hypermedia or hypertext documents”), web browsers (which could

display or access images, text, sound, and video in webpages), and the web’s “open”

and “widely adopted standard protocols” (e.g., HTML and HTTP) were all well-

known. Appx67-68 (1:27-3:50) (citing Appx12097-12102 (Berners-Lee paper)),




   2
      The specification never mentions “security,” “scalability,” or anything of the
sort. Cf. Blue Br. 19-20, 40-41, 53-54.

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Appx68-69 (3:59-5:35), Appx71 (9:43-46), Appx78 (cl. 32), Appx58-59 (Figs. 1-2:

prior art).

       The specification also admits that no particular implementation is required.

Appx5-6; Appx74 (16:56-67) (no “specific logic” required; “various programming

languages and techniques can be used”). The purported invention is not “limited”

to any specific disclosed examples—“[t]he specification and drawings are … to be

regarded in an illustrative rather than a restrictive sense, the invention being limited

only by the provided claims.” Appx74-75 (16:67-17:3); see, e.g., Appx70 (8:7-54)

(Figure 3’s “familiar computer components” are “but one example of many possible

computer types or configurations”; Figure 4 depicts “basic subsystems,” but “[o]ther

arrangements of subsystems and interconnections are possible”; Figure 5 depicts

network communications but “[o]ther networks and network protocols may be

used”); Appx60-61 (Figs. 3-5); Appx5-6.

              2.    The Asserted Claims

       The asserted claims (claims 19, 24, 26, 32, 37, 39, and 45) are broad. See

Appx77-79 (independent claims underlined). Despite some seemingly technical

jargon, they focus on the abstract concept of enabling interactivity with remote

objects on a client computer browser using distributed computing—and recite no

specific, much less limiting, way to achieve that aspirational result.




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Independent claim 32 recites:

    32. A method, performed by a server computer connected to the World
Wide Web distributed hypermedia network on the Internet, for disseminating
interactive content via the World Wide Web distributed hypermedia network
on the Internet, the method comprising:

   A. receiving, by the server computer, a request for information; and

   B. transferring, by the server computer, the information onto the World
      Wide Web distributed hypermedia network on the Internet, wherein:

      (i) a World Wide Web browser on a client computer connected to the
          World Wide Web distributed hypermedia network has been
          configured with a plurality of different interactive-content
          applications, each said interactive-content application being
          configured to enable a user to interact, within one or more World
          Wide Web pages, with at least part of one or more objects while at
          least part of each of said one or more objects is displayed to the user
          within at least one of said one or more World Wide Web pages, and

      (ii) at least part of the information is configured to allow the World
          Wide Web browser on the client computer to:

         a. detect at least part of an object to be displayed in a World Wide
            Web page, and

         b. cause a display of the World Wide Web page to a user,

      (iii) the World Wide Web browser has been configured to:

         a. select an interactive-content application, based upon the
            information, from among the different interactive-content
            applications, and

         b. automatically invoke the selected interactive-content application
            to enable the user to employ the selected interactive-content
            application to interact within the World Wide Web page with at
            least part of the object while at least part of the object is displayed
            to the user within the World Wide Web page,
            wherein the automatically invoked interactive-content
              application has been configured to operate as part of a

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                      distributed application configured to enable a user to perform
                      the interaction through the use of communications sent to and
                      received from at least a portion of the distributed application
                      located on two or more distributed application computers
                      connected to the World Wide Web distributed hypermedia
                      network on the Internet, the two or more distributed
                      application computers being remote from the client computer.

Appx78 (formatting altered).

      Claim 32’s two dependent claims state that a computer “coordinat[es]”

performance of the task (claim 37), and the task is “broken up” over multiple

computers, which “work together” (claim 39). Appx78. Eolas conceded that claims

19, 24, and 26 are materially the same as claims 32, 37, and 39, respectively.

Appx77-78; see Appx28. Eolas also conceded that claim 45 is substantially the same

as claims 32 and 39. Appx28. Claim 45 just adds that the application “perform[s]

viewing transformations,” Appx79, which, as broadly construed, means “operations

performed on data for visual display to a user,” Appx6551.

             3.    The Prosecution History

      Prosecution of the application for the ’507 patent was largely dormant until

after the suits in Eolas I and II had failed. In August 2014, Eolas cancelled all

pending claims and replaced them with 27 other claims (then pending as claims 14-

40). Appx10924-10942.

      In January 2015, Eolas submitted remarks attempting to distinguish pending

claim 14 (which issued as claim 1, and which is not asserted here) from the prior art



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and the claims found invalid in Eolas I. Appx12836-12846. According to Eolas,

claim 14 had (inter alia) a “data structure,” which purportedly “provides enhanced

security” by “control[ing] the selection of the interactive-content application.”

Appx12842. Eolas strictly confined its remarks to pending claim 14: “the other

pending claims in the present application are different than Claim 14, and the

descriptions herein with respect to Claim 14 are not meant to limit or describe the

other pending claims of the present application in any manner.” Appx12845.

      No asserted claim recites the “data structure” that Eolas referenced during

prosecution. And, contrary to Eolas’s assertions (Blue Br. 8-9), Eolas never stated

during prosecution that the asserted claims have any “security”-related features. See

Appx21 n.6.

      C.      The Present Litigation

      On November 24, 2015, Eolas filed separate suits asserting the ’507 patent

against Amazon, Google, and Walmart (“Defendants”) in the Eastern District of

Texas. Appx442-448; Appx449-455; Appx458-464. Eolas asserted infringement

by a sweeping array of accused products—essentially anything that provides

interactive content on the web using distributed computing.             Appx15328;

Appx10322. The Google accused products are: AdWords, Google Search, Google

Docs, Gmail, Google Maps, and YouTube. The Amazon accused products are:

Amazon Cart, EC2, Amazon Product Viewer, S3, Amazon Search, Shoveler, and



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Amazon Video. And the Walmart accused products are: Walmart Search, Walmart

Cart, Walmart Product Viewer, and Carousel. Eolas’s expert, Dr. David Martin

(unrelated to inventor Mr. David Martin), expressed essentially the same

infringement theories across all accused products. See, e.g., Appx16707 (472:20-

23); Appx18183-18265 at Appx18189-18190; Appx17540-17638; Appx18280-

18366; Appx18882-18957.

      Eolas filed an early summary judgment motion, arguing that its claims are

eligible as a matter of law because they cover “systems and methods for serving

distributed interactive applications on the World Wide Web.”            Appx3560,

Appx3564. The Texas court denied the motion, holding that claim construction

might impact the analysis. Appx6506-6514 at Appx6514.

            1.     Claim Construction And Scope

      In its claim construction brief, Eolas again insisted: “Dr. Doyle and his co-

inventors had an idea that would change the Web forever. Their idea: embed

interactive content directly into the previously static web pages.”     Appx4927.

Consistent with that abstract recitation of the purported invention, Eolas urged the

Texas court to adopt broad, generic constructions of the claims, requiring no

particular technological implementation and omitting nearly all details in the

specification. See Appx6548-6551.




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      On December 8, 2016, the court largely adopted Eolas’s broad, generic

constructions.   Appx6515-6551.     For example, as Eolas requested, the court

construed “interactive-content application” to mean any application that “enable[s]

a user to interact with content.”    Appx6521, Appx6548.        The court rejected

Defendants’ proposals to construe the term in light of details in the specification.

Appx6521-6527. Likewise, the court construed “distributed application” to mean

any “application that is broken up and performed among two or more computers”—

a “concept” that was “well-understood.”         Appx6529; see Appx6527-6530,

Appx6548. The court found also that the “coordinat[ing]” of computers in claim 45

and the asserted dependent claims require only that multiple computers “work

together.” Appx6540-6542, Appx6549. Eolas also successfully argued that the web

browser limitation does not require any particular programming or use of

“predetermined” applications. Appx6533-6535.

            2.     Transfer To The Northern District Of California

      In early 2017, during expert discovery, the Texas court transferred the cases

to the Northern District of California.        Appx6676-6677; Appx9713-9715;

Appx9716-9717; In re Google Inc., 2017 WL 977038, at *1 (granting mandamus).

After transfer, at Eolas’s request, the case was stayed pending resolution of a

prosecution bar motion, which the court denied in late 2019. See Appx25001-25025;

Appx10084-10086.



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      In March 2020, per the stipulated schedule, Defendants filed an early

summary judgment motion on obviousness-type double patenting, which would

have disposed of the case but was “not … the only motion for summary judgment

that may be filed.”     Appx10218-10224 at Appx10219.           Contrary to Eolas’s

characterization, the court’s April 2021 order (Appx13633-13649) denying

Defendants’ motion did not “reject[]” Defendants’ argument that “the ’507 patent

recited a ‘routine incorporation of Internet technology into existing processes.’”

Blue Br. 12. Rather, the court held that Defendants had not met their summary

judgment burden to provide evidence showing that the earlier patent claims and prior

art disclosed performing the claimed functions (interactivity and distributed

computing) on the web. Appx13639-13644; Appx3, Appx33-34.

      Thereafter, per the court’s schedule, the parties completed expert discovery,

filed Daubert motions, and filed summary judgment motions. Appx13680-13682.

             3.    Grant Of Summary Judgment Of Ineligibility Under § 101

      On February 24, 2022, Eolas and Defendants each filed summary judgment

motions. Defendants moved on several grounds, including ineligibility under § 101.

Appx15315; Appx16797. In a thorough, 37-page order, the district court agreed that

the claims fail under § 101 and denied the other motions as moot. Appx1-37.

      At Alice step one, the court first reviewed claim 32 at length and determined

that, as a whole, it focuses on an abstract idea for providing interactive web content



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using distributed computing—i.e., “enabling interactivity with remote objects on a

client computer browser using distributed computing.”         Appx11.     The court

explained that the claim lacks any details on how the key elements—the “interactive-

content application” and the “distributed application”—provide the desired

interactivity. Appx12. The court emphasized that Eolas sought and received generic

constructions of those terms. Appx11-12. The court noted that, although the

specification discusses certain details for providing interactivity using distributed

computing, they “are not captured in Claim 32.” Appx15.

      The court recognized that the purely functional, result-oriented nature of the

claim indicates it is directed to an abstract idea. Appx9-13 (citing, e.g., Interval

Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1345 (Fed. Cir. 2018); Affinity Labs of

Tex., LLC v. Amazon.com Inc., 838 F.3d 1266, 1269 (Fed. Cir. 2016) (“Affinity Labs

II”); Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838 F.3d 1253, 1257 (Fed. Cir.

2016) (“Affinity Labs I”)). The court also recognized that the claim nowhere

improves the computing capacity of client computers or network bandwidth—the

problems identified in the specification—and instead requires only generic computer

technology and a generic web environment for performing the abstract idea.

Appx13, Appx18-20.        And the court rejected Eolas’s purported “security”

improvements because the patent nowhere mentions security, let alone improves it.

Appx21-25. Absent specificity “covering a technological solution,” the court found



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that the claim had considerable breadth, like other distributed computing claims

found abstract and ineligible. Appx15-18 (citing cases).

      The court found the other asserted claims were directed to the same abstract

idea. Appx25-30. The court explained that dependent claims 37 and 39 recite only

breaking up the various tasks and coordinating to complete them—a basic aspect of

distributed computing, which is part of the abstract idea. Appx25-28. The court

explained that, as Eolas conceded, (a) claims 19, 24, and 26 mirror claims 32, 37,

and 39, and (b) claim 45 is substantially similar, with an inconsequential additional

limitation for “viewing transformations.” Appx28-30; see Appx19673, Appx19682-

19683; Blue Br. 22, 34, 53. The court recognized that, at Eolas’s urging, “viewing

transformations” was construed far more broadly than 3D transformations as

described in the specification and did not limit claim 45 in a way that rendered it less

abstract. Appx29-30.

      At Alice step two, the court held that, apart from the abstract idea, the claims’

additional limitations, individually and combined, added nothing inventive.

Appx30-36. The court found that the limitations Eolas identified provided no

specific technological solution or improvement, and instead reflected the abstract

idea, generic functionality, and conventional distributed computing techniques.

Appx32-33.     The court rejected Eolas’s argument that limiting the claimed

functionality to the web context confers patent eligibility. Appx34.



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                      SUMMARY OF THE ARGUMENT

      The district court correctly held the asserted ’507 patent claims ineligible.

      1.     At Alice step one, the claims are directed to an abstract idea—enabling

interactivity with remote objects on a client computer browser using distributed

computing—because they are recited in functional, result-oriented language,

untethered to any particular technological advance for achieving that goal. Eolas

secured broad claim constructions of the key terms—such as the “interactive-content

application” and “distributed application”—that are generic and lack any meaningful

details. And Eolas itself (and its witnesses) admitted that the point of these claims

is providing interactive content in webpages using generic distributed computing

components performing their generic computing functions.

      Thus, although set in a technological environment, the claims reflect the same

kind of generic, result-oriented computer functions that this Court has found to be

abstract and ineligible, such as claims for “using graphics instead of programming

to create object-oriented simulations” in Simio, LLC v. FlexSim Software Products,

Inc., 983 F.3d 1353, 1359 (Fed. Cir. 2020), and “enabling the creation of mobile

applications without coding by combining pre-coded software components,” in

Aftechmobile Inc. v. Salesforce.com, Inc., 853 F. App’x 669, 669-70 (Fed. Cir.

2021).




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      Attempting to salvage its claims, Eolas distorts the claims’ focus and relies on

unclaimed details found in the specification but not the claims—the same sort of

details that Eolas refused to include in its broad claim constructions that the Texas

court adopted. But unclaimed details are irrelevant. See, e.g., Intell. Ventures I LLC

v. Symantec Corp., 838 F.3d 1307, 1322 (Fed. Cir. 2016) (“Symantec”).

      Similarly, Eolas incorrectly contends that the claims are non-abstract because

they purportedly provide improvements in interactivity, scalability, and security.

First, the limited interactivity in existing systems was due to limited processing

power, which the patent purports to overcome by distributing the processing across

multiple computers—part of the abstract idea itself. The patent uses only admittedly

commonplace distributed computing techniques and does not purport to improve or

describe any particular way of dividing or embedding the processing. And courts

routinely hold ineligible claims reciting distributed processing—an abstract idea that

has been known for centuries (many hands make light work). Second, the patent

does not mention scalability and, regardless, any such benefits flow from using

distributed processing—again part of the abstract idea itself. And, third, the patent

nowhere mentions security. Eolas makes a new (waived) argument on appeal,

relying heavily on a passing security-related statement during prosecution. But that

statement was expressly limited to a claim that is not asserted here.




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      Eolas’s other arguments also fail. Eolas incorrectly contends that the district

court overgeneralized the claims. But the court carefully considered each claim as

a whole and properly recognized, as this Court has elsewhere, that they center on an

abstract, functional concept despite their computer features. Eolas also wrongly

suggests that the claims are eligible merely because they are set in a web

environment or merely because Eolas asserts a technological improvement. This

Court routinely rejects those same arguments.

      2.     Eolas’s arguments at Alice step two fare no better. As the district court

held, and Eolas does not contest, the claims require only generic computers and

servers. Eolas identifies nothing inventive apart from the abstract idea itself.

Instead, Eolas contends that the claims as a whole are different from the prior art.

But that relates to novelty, not eligibility. That prior art (purportedly) did not provide

the recited functions of interactivity and distributed processing in the web

environment does not make them inventive at step two.

      Summary judgment should be affirmed.

                                    ARGUMENT

      Section 101 describes subject matter that is eligible for patenting, but

“‘contains an important implicit exception’” for abstract ideas, which are “‘the basic

tools of scientific and technological work.’” Alice, 573 U.S. at 216 (citation

omitted). “‘[M]onopolization of those tools” would “‘inhibit further discovery by



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improperly tying up the future use of’ these building blocks of human ingenuity”

and “‘impede innovation more than it would tend to promote it,’ thereby thwarting

the primary object of the patent laws.” Id. (citation omitted). The two-step Alice

test governs whether computer-based patent claims are ineligible. Id. at 217-27.

      At step one, the Court determines whether the claims are directed to an

abstract idea. Id. at 218. The Court evaluates “the focus of the claimed advance

over the prior art to determine if the claim’s character as a whole is directed to” an

abstract idea. Intell. Ventures I LLC v. Erie Indem. Co., 850 F.3d 1315, 1325 (Fed.

Cir. 2017) (“Erie”) (cleaned up).      Even if claims are limited to a particular

“technological environment, such as the Internet,” that does not make the core idea

“any less abstract.” Intell. Ventures I LLC v. Capital One Bank (USA), Nat’l Ass’n,

792 F.3d 1363, 1366-67 (Fed. Cir. 2015) (“Capital One”). And even if “the

techniques claimed are ‘[g]roundbreaking, innovative, or even brilliant,’ … that is

not enough for eligibility”—“‘[a] claim for a new abstract idea is still an abstract

idea.’” SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1163 (Fed. Cir. 2018).

      Importantly, “[t]he purely functional nature of [a] claim confirms that it is

directed to an abstract idea, not to a concrete embodiment of that idea.” Affinity Labs

II, 838 F.3d at 1269. This Court has repeatedly held that claims reciting “result-

based functional language” for performing computer processes without “sufficiently

describ[ing] how to achieve these results” are abstract. Two-Way Media Ltd. v.



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Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir. 2017); see Interval

Licensing, 896 F.3d at 1346 (claims “recited only at the broadest, functional level,

without explaining how that is accomplished,” were abstract); RecogniCorp, LLC v.

Nintendo Co., 855 F.3d 1322, 1326 (Fed. Cir. 2017) (claims focused on “abstract

end-result,” not “‘specific means or method’ for improving technology,” were

abstract); Apple, Inc. v. Ameranth, Inc., 842 F.3d 1229, 1241 (Fed. Cir. 2016)

(“merely claim[ing] the resulting systems,” without “particular way of programming

or designing the software,” is abstract).

      At step two, the Court determines whether the other claim elements,

individually or collectively, add “significantly more” to the abstract idea—

something “inventive”—that transforms the idea into a patent-eligible application.

Alice, 573 U.S. at 217-22. Implementing an abstract idea with “well-understood,”

“routine,” or “conventional” activities—or limiting it to a particular technological

environment—contributes nothing inventive. Id. at 225-26. Use of an abstract idea

itself cannot supply the requisite inventive concept. SAP, 898 F.3d at 1163. Nor

can claims simply recite “generic functional language to achieve the[] purported

solutions” without claiming “‘how the desired result is achieved.’” Two-Way Media,

874 F.3d at 1339 (citation omitted). And crucially, any inventive concept must be

“in the claims,” not in unclaimed “technological details set forth in the patent’s

specification.” Symantec, 838 F.3d at 1322.



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      Here, the ’507 patent’s asserted claims are ineligible because they (i) are

directed to the abstract idea of enabling interactivity with remote objects on a client

computer browser using distributed computing and (ii) add only non-inventive

elements, such as conventional computers and functions.

I.    THE ASSERTED CLAIMS ARE DIRECTED TO AN ABSTRACT
      IDEA AT ALICE STEP ONE

      The asserted claims focus on an abstract idea, not any specific improvement

in computer technology, as the district court correctly held. Appx9-36. That is

evident for two reasons: (a) the claims recite result-oriented functional language, like

others this Court has found abstract and ineligible, and (b) the claims’ use of

distributed computing is analogous to commonplace human division-of-labor

concepts. Eolas ignores the plainly functional nature of the claims (secured by Eolas

at claim construction), and its arguments are divorced from the claim language and

specification.

      A.     The Claims Recite Result-Oriented Functional Language, Like
             Claims This Court Has Found Abstract

      The asserted claims are recited in highly generic terms, focusing on “an

abstract end-result,” not “‘a specific means or method’ for improving technology.”

RecogniCorp, 855 F.3d at 1326 (citation omitted); see Appx11-30. In particular, the

claims are directed to the abstract idea of “enabling interactivity with remote objects




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on a client computer browser using distributed computing,” as the district court held.

Appx10.3

             1.    Independent Claim 32 Is Directed To The Abstract Idea

       Claim 32 recites a computer method in which (1) a server sends “interactive

content” (an “object”) to the user’s web browser, (2) the web browser starts an

“interactive-content application” to “enable the user” “to interact” with the content,

and (3) the interactive-content application’s processing is divided up (“distributed”)

among at least two other computers on the web (i.e., as part of a “distributed

application”). Appx78. To achieve these results, the claimed method recites generic

computers (a “server,” “client computer,” and other “computers”) that are

“configured to” perform basic computer functions, such as “receiving,”

“transferring,” “display[ing],” and “communicati[ng]” information. Appx78.

       Critically, claim 32 provides no details explaining how to implement the

claimed software functions—as the district court found. Appx12; see Interval

Licensing, 896 F.3d at 1345; Affinity Labs II, 838 F.3d at 1269. Rather, Eolas sought,

and received, broad functional claim constructions that do not focus on or require

any specific ways of achieving those functions or results: an “interactive-content



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      The district court’s articulation of the abstract idea is materially the same as
the one proposed by Defendants: “providing interactive applications on the web
using distributed computing.” Appx9-10. Such “trivial differences in articulations”
do not matter. Simio, 983 F.3d at 1360.

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application” is any application that “enable[s] a user to interact with content” and

the claimed “distributed application” is any “application that is broken up and

performed among two or more computers.” Appx6548; see Appx11; supra at 11-

12. And nearly every limitation relates to the interactive-content application, its

functions for providing interactivity, or distributing those functions—confirming

that “the heart of the claimed invention” is the abstract idea. Erie, 850 F.3d at 1328.

Therefore, claim 32 is directed to the abstract idea of enabling interactivity with

remote objects on a browser using distributed computing. See, e.g., Simio, 983 F.3d

at 1360 (“abstract idea of using graphics instead of programming to create object-

oriented simulations”); Aftechmobile, 853 F. App’x at 669-70 (“abstract idea of

enabling the creation of mobile applications without coding by combining pre-coded

software components” (citation omitted)).

      The specification and Eolas’s own prior statements (which it ignores in its

brief) confirm that the purported advance, if any, is that abstract idea. See Appx69

(6:45-67) (purported invention “allows the user to interact with an application

program located at a remote computer” and thereby “use a vast amount of computing

power beyond that which is contained in the user’s client computer”); Appx14; supra

at 5-7; Appx3564 (Eolas’s MSJ: claims directed to “systems and methods for serving

distributed interactive [web] applications”); Appx15475 (¶ 774), Appx15482 (¶ 868)

(Eolas’s expert: claims cover “systems and methods for serving distributed



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applications over the [web]”); see also Weisner v. Google LLC, 51 F.4th 1073, 1082-

83 (Fed. Cir. 2022) (patentee’s characterizations confirmed abstraction).

      The specification further confirms that claim 32 merely uses—not improves—

conventional computer and network technology. Supra at 5-7; see Universal Secure

Registry LLC v. Apple Inc., 10 F.4th 1342, 1354-55 (Fed. Cir. 2021) (specification

confirmed technology was conventional). Eolas’s witnesses admitted as much. The

patent uses only commodity hardware. Appx16643 (Mr. Martin Dep. 54:19-23);

Appx15548 (Doyle Dep. 402:5-11). It does not change any existing web protocols,

instead relying on conventional communications. Appx16653 (Mr. Martin Dep.

127:4-13), Appx15503 (Doyle Dep. 21:2-8), Appx15543-15545 (Doyle Dep.

371:18-73:25). And it does not propose any new form of coordinated distributed

computing, instead relying on admittedly commonplace distributed techniques.

Appx16644 (Mr. Martin Dep. 55:7-15), Appx16659-16660 (Mr. Martin Dep. 233:8-

234:19); see also Appx16635-16645 (Mr. Martin Dep. 46-56); infra at 34-35. Eolas

provided no response to that testimony in the district court or on appeal.

      Additionally, the expansive scope that Eolas seeks to capture confirms that its

claims are too generic to satisfy § 101. See Capital One, 792 F.3d at 1369 (“breadth”

confirms abstraction); Symantec, 838 F.3d at 1321 (broad “preemption may signal

patent ineligible subject matter” (citation omitted)). Inventor Dr. Doyle, who helped

draft the claims, testified that they cover a “limitless” range of interactive web-based



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applications allowing users to “access powerful remote resources.” Appx15546-

15547 (389:19-390:5) (emphasis added), Appx15514 (216:4-5); see Appx15504-

15528 (33-36, 187-90, 214-23, 281, 293-98), Appx15538-15542 (358-59, 362-64);

Appx12969 (Doyle Decl. ¶ 3). This is in keeping with Eolas’s characterization of

the patent as reflecting the “idea” of “embed[ding] interactive content directly into

… web pages,” Appx4927, and Eolas’s ambition to own “the interactive web as we

know it today,” supra at 3 (citation omitted). And Eolas now wields these “limitless”

functional claims against a staggering and indiscriminate array of interactive web-

based products—everything from Gmail to Google Maps, Amazon Cart to Amazon

Video, Walmart Search to Walmart Product Viewer, and more. Supra at 10-11.

These are the sort of sweeping claims that inhibit, rather than enhance, innovation—

precisely what § 101 forbids. See Alice, 573 U.S. at 216; O’Reilly v. Morse, 56 U.S.

(15 How.) 62, 112-14 (1854).

      Eolas argues that “the claims come nowhere close to preempting” the abstract

idea. Blue Br. 51. But “the absence of complete preemption does not demonstrate

patent eligibility.” BSG Tech LLC v. Buyseasons, Inc., 899 F.3d 1281, 1291 (Fed.

Cir. 2018) (citation omitted). Even narrow claims, if not limited to any particular

way achieving their results, necessarily preempt future inventors from achieving

those same results, even if narrow, in new and better ways. See, e.g., id.; SAP, 898

F.3d at 1169 (“narrow embodiments of ineligible matter … are still ineligible”).



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Regardless, Eolas’s attempt to monopolize interactivity on the web is breathtakingly

broad. See Appx21353 n.2.

      This Court has repeatedly found claims abstract and ineligible where (as here)

they recite only functional language dividing processes over various computer

components without limiting how to achieve those functions. For example, in

Interval Licensing, the ineligible claims recited nine computer modules

(“instructions”) for coordinating user interaction and the display of content,

including an “attention manager” component for arranging the content. 896 F.3d at

1339-40, 1344-45. The claims were abstract at step one because, “in light of the

broad, result-oriented construction for ‘attention manager,’” the claims included no

details on “how the attention manager perform[ed] the function[s]” or “how to

engineer or program the display”; the claims “simply demand[ed] the production of

a desired result … without any limitation on how to produce that result.” Id. at 1345.

Similarly, here, claim 32 recites only functional steps for enabling interactivity in a

browser using generic distributed computing without explaining how to achieve

these results—especially given the broad constructions that Eolas secured.

      In Aftechmobile, the remarkably “lengthy” claims recited computer programs

and methods that “allowed technically unsophisticated users to create mobile

applications without coding by integrating pre-coded software with new applications

to connect to backend databases.” 853 F. App’x at 669-70. The claims there recited,



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inter alia, network-based “mobile application development software,” “pre-coded

software components” (including “interactive elements configured to enable

interactions with said data” and “hierarchical layers of data”) “encapsulated in a

mobile application creation interface,” user selection of software components, and

creation of the application within the interface. Aftechmobile Inc. v. Salesforce, Inc.,

No. 19-cv-05903-JST, 2020 WL 6129139, at *3-4 (N.D. Cal. 2020), aff’d, 853 F.

App’x 669, 669-70 (Fed. Cir. 2021). Yet this Court found the claims recited only

“desired functions without corresponding recitations on how to achieve or

implement those functions”—and thus were directed to “the abstract idea of enabling

the creation of mobile applications without coding by combining pre-coded software

components.” 853 F. App’x at 669 (citation omitted).

      Here, claim 32’s central software concept (dividing an application’s

processing) is just as abstract as the one in Aftechmobile (combining an application’s

processing blocks). And like in Aftechmobile, claim 32 here recites purely functional

language—generic computer components “configured to” allow interactivity and

other functionality—to achieve the desired results, and is thus abstract.

      In Two-Way Media, the claims purportedly provided “an improved scalable

architecture for delivering real-time information” over a network, with an

“[e]mbedded … control mechanism that provides for the management and

administration of users.” 874 F.3d at 1333-34. Although the claims recited detailed



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steps for “‘converting’” data streams into smaller “packets” for easier transmission,

“‘controlling the routing … in response to selection signals received from the

users,’” and “‘monitoring’” key data, they did “not sufficiently describe how to

achieve these results in a non-abstract way.” Id. at 1337-38 (citations omitted). The

claims were abstract because they recited “generalized steps to be performed on a

computer using conventional computer activity.” Id. at 1337. Likewise here, the

generic steps for communicating, distributing, and displaying information focus not

on any “specific means or method,” but are “instead directed to a result or effect that

itself is the abstract idea and merely invokes generic processes and machinery.” Id.

      Several other cases reach the same result in indistinguishable circumstances.

In Affinity Labs I, the claims recited a “downloadable application” that was

“configured to” retrieve remote information and provide an interactive “user

interface” that displayed “a partial listing of available media sources” with a

“selectable item” allowing the user to retrieve content. 838 F.3d at 1255-57. The

claims were “entirely functional in nature” and “untethered to any specific or

concrete way of implementing” the desired results—and thus directed to the abstract

idea of “providing out-of-region access to regional broadcast content.” Id. at 1258;

see also Affinity Labs II, 838 F.3d at 1269 (abstract idea of “delivering user-selected

media content to portable devices”).




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       In Simio, the claims recited several components for creating graphics-based

“object-oriented simulations”—including “‘base objects created from … graphical

processes,’” a “‘new object’” with a particular “‘3-tier structure,’” and an

“‘executable process to add a new behavior directly to an object instance.’” 983

F.3d at 1357, 1359-60. Yet the claims did not explain “how the computer’s

functionality is improved” or any “‘specific rules’ to achieve ‘an improved

technological result.” Id. at 1361 (citation omitted). Thus, despite the patentee’s

assertion of “‘improvements to computer-implemented simulation,’” the claims

were directed to the “abstract idea of using graphics instead of programming to

create object-oriented simulations.” Id. at 1360-61.

       And in Free Stream Media Corp. v. Alphonso Inc., the claims recited a

television, servers, and a mobile device that could “process an embedded object,

constrain an executable environment in a security sandbox, and execute a sandboxed

application in the executable environment”—but did not sufficiently “identify how

[their] functional result is achieved.” 996 F.3d 1355, 1363 (Fed. Cir. 2021) (cleaned

up).   Thus, despite the patentee’s assertion of an “improvement to computer

functionality,” the claims were directed to “the abstract idea of providing targeted

advertising to the mobile device user.” Id. at 1364-65.

       So too here: Claim 32’s recitation of similar computer-based features—

including interactive applications, embedded objects, and network-based



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information retrieval—is purely functional and aspirational, and thus directed to an

abstract idea.

             2.    The Other Asserted Claims Are Directed To The Same
                   Abstract Idea

      The other asserted claims are equally generic and directed to the same abstract

idea. First, claim 32’s dependent claims—claims 37 and 39—recite only that a

computer “coordinat[es]” task performance (claim 37), and the task is “broken up”

over multiple computers, which “work together” (claim 39).           Appx78.     But

coordinating and working together to perform tasks broken up over multiple

computers is the very definition of distributed computing—i.e., part of the abstract

idea. Appx25-28; see Appx6548 (“distributed application”: any “application that is

broken up and performed among two or more computers”). And, as the district court

held, the claims “do not specify how to distribute the computing work” in any

particular, let alone technologically improved, way. Appx27. As with claim 32,

claims 37 and 39 require only conventional computers performing well-known

distributed computing techniques. See, e.g., BSG, 899 F.3d at 1287 n.1 (dependent

claims focused on same abstract idea as independent claim).

      Second, Eolas admits that claims 19, 24, and 26, are materially identical to

claims 32, 37, and 39, respectively. Blue Br. 22, 34; Appx28. They recite a generic

“server” (with a processor and memory device) that performs the same method

steps—which does not alter the analysis. See Alice, 573 U.S. at 226 (system claims


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that “are no different from the method claims in substance” are abstract “for

substantially the same reasons”).

       Third, Eolas acknowledges that claim 45 is materially similar to claims 32 and

39. Blue Br. 35; Appx28. Claim 45 adds merely that the application “perform[s]

viewing transformations”—another purely functional, generic limitation for

displaying the interactive content. Appx79. Indeed, as construed (at Eolas’s urging),

that limitation just means any “operations performed on data for visual display to a

user.” Appx6543-6545. Eolas insisted during claim construction (and the Texas

court agreed) that the term was not limited to disclosed embodiments. Appx6543-

6545.4 Accordingly, as the district court explained, that limitation does not require

any particular operations (e.g., the ones in Figures 9 and 10) or any improved

technology. Appx29-30 (citing Appx6543-6545). That generic display limitation

does not save claim 45 from abstraction. Appx30; see Electric Power Group, LLC

v. Alstom S.A., 830 F.3d 1350, 1354-55 (Fed. Cir. 2016) (display limitation is

“abstract” and “ancillary”).




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       Eolas asserts that the district court “must have been confused” in stating that
the term “‘was construed to exclude embodiments described in the specification.’”
Blue Br. 54 (emphasis added) (quoting Appx29). But, in context, it is clear the court
simply meant the term was construed to not be limited to embodiments regarding 3D
views. Appx29 (citing Appx6543-6545). Indeed, due to the claim construction, no
party asserts that “viewing transformations” are limited by the specification.

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      Therefore, like claim 32, the other asserted claims do not specify how the

recited functions are performed. At most they restate or “minimal[ly] narrow[]” the

abstract idea, which does not save the claims at step one. BSG, 899 F.3d at 1287.

      B.     The Claims’ Use Of Distributed Computing Is Akin To Basic
             Human Teamwork Or Project Management

      The claims’ use of distributed computing is akin to an age-old concept: many

hands make light work. For example, military commanders or business managers

(1) interact with a superior to receive instructions (like the “interactive-content

application” here), (2) distribute tasks among multiple subordinates (like the

“distributed” computers that are “coordinated” to “work together to perform [a]

task” here), and (3) report back with any updates or results (like displaying the results

here). See Appx72 (11:3-25), Appx77-79 (asserted claims). The claims’ reflection

of longstanding or fundamental concepts is another indication of abstraction. See

Symantec, 838 F.3d at 1314 (“‘fundamental … practice[s] long prevalent’ are

abstract ideas” (quoting Alice, 573 U.S. at 219)); Appistry, Inc. v. Amazon.com, Inc.,

195 F. Supp. 3d 1176, 1178-80 (W.D. Wash. 2016) (claims directed to “abstract idea

of distributed processing akin to the military’s command and control system”

(citation omitted)), aff’d, 676 F. App’x 1008 (Fed. Cir. 2017).

      Employing such a concept in the “particular … technological environment”

of the web does not make it “any less abstract.” Symantec, 838 F.3d at 1319 (citation

omitted); see id. at 1313-14 (claims for “filtering e-mails that have unwanted


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content” were akin to human activities and abstract despite “‘particular technological

environment of the Internet’” (citation omitted)); Capital One, 792 F.3d at 1369-70

(claims for providing customized webpages were akin to human activities and

abstract).

      Indeed, numerous decisions hold that claims for distributed computing,

including coordination to break up tasks across multiple computers, are directed to

abstract ideas and ineligible.    For example, in SAP, claims reciting multiple

“processors collectively arranged to perform a parallel processing computation”—

and “adapted to” receive a “user request” and process a “return object”—were

directed to the abstract ideas of “selecting certain information, analyzing it using

mathematical techniques, and reporting or displaying the results of the analysis.”

898 F.3d at 1165 & n.2, 1167-68, 1170 (emphasis omitted). In VeriPath, Inc. v.

Didomi, the claims to a purportedly improved system that “allows a component of

an application …, in conjunction with other components of a distributed system,” to

facilitate user interactions, were directed to the abstract idea of “exchanging privacy

for functionality.” 842 F. App’x 640, 641-43 (Fed. Cir. 2021).

      Similarly, in Coho Licensing LLC v. Glam Media, Inc., the claims for

“allocating,” “sub-allocating,” and “dividing” a “task portion” into a “subtask

portion” were directed to the abstract idea of “dividing and subdividing tasks for

distributed processing.” Nos. C 14-01576, et al., 2017 WL 6210882, at *4-5 (N.D.



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Cal. Jan. 23, 2017), aff’d, 710 F. App’x 892 (Fed. Cir. 2018). And in Appistry, the

claims including “task handlers” on multiple networked computers were directed to

“‘the abstract idea of distributed processing akin to the military’s command and

control system.’” 195 F. Supp. 3d at 1178-80 (citation omitted).

       Here, too, simply breaking up a task into smaller tasks “is a relatively simple

and abstract idea.” Coho Licensing, 2017 WL 6210882, at *5. And here, too, the

claims provide no specific details for performing the distributed computing—no

particular or improved way of dividing up the tasks—and require no “improved

computer or network,” just “off-the-shelf computer technology.” SAP, 898 F.3d at

1168. The claims and specification merely rely on distributed computers for their

conventional use: enhanced processing through division of labor. See Appx68-70

(4:35-37, 5:36-52, 6:34-37, 6:65-7:6), Appx72 (11:3-22).5

       Nor can (or does) Eolas suggest otherwise: its witnesses confirmed that the

patent’s distributed computing was well-known. Eolas’s expert Dr. Martin admitted

that, “at the time of the ’507 patent … the concept of distributed computing was


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       See also Teradata US, Inc. v. SAP SE, No. 20-cv-06127, 2021 WL 6332792,
at *8-9 (N.D. Cal. Oct. 5, 2021) (“distributed” “parallel execution of database
tasks”); Uniloc 2017 LLC v. Netflix, Inc., No. SACV 18-2055, 2019 WL 3291581,
at *5 (C.D. Cal. May 14, 2019) (processing tasks “concurrently”); Device
Enhancement LLC v. Amazon.com, Inc., 189 F. Supp. 3d 392, 403-04 & n.15 (D.
Del. 2016) (“[u]sing distributed architecture to enable remote adaptation of
applications beyond the capabilities of an individual device”); Enpat, Inc. v. Tenrox
Inc., No. 6:13-cv-948, 2015 WL 541673 at *1-2, *5 (M.D. Fla. Feb. 10, 2015)
(“coordinated management of a project” on server).

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well-known in the art.” Appx15644 (488:15-17). Likewise, inventor Mr. Martin

confirmed that the patent’s coordinated distributed processing techniques “were

relatively well understood in the common practice at the time.” Appx16644 (55:7-

15); see Appx16635-16645. Mr. Martin also confirmed that the claims fail to

explain how to use multiple coordinated distributed remote servers to off-load local

processing. Appx16659-16660. Such detail is lacking because the named inventors

used “a pretty common standard mechanism for doing parallel processing, which

[they] did not invent”; “it would be readily apparent how to divide up a problem and

run it across multiple parallel computers”; and “it’s not something that [they] would

have to instruct somebody on how to do.” Appx16659-16660 (233:25-234:2, 234:3-

4, 234:6-7). Moreover, Mr. Martin confirmed that Eolas did not invent distributed

computing, distributed data objects, distributed applications, the ability for a user to

control content at a remote computer, or having a remote computer do extensive

computations and return results—and did not modify the hardware in any way to

achieve the coordinated distributed parallel processing. Appx16643-16656; see also

Appx5783 n.5 (Eolas admitting “idea of distributed applications” “was known” in

papers back to 1984).

      Therefore, these claims fall into “the familiar class of claims that do not ‘focus

... on [ ] an improvement in computers as tools, but on certain independently abstract

ideas that use computers as tools.’” SAP, 898 F.3d at 1168 (citation omitted); see



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also Simio, 983 F.3d at 1361 (improved processing speed of a task does not render

claim patent eligible).

      C.     Eolas’s Purported Improvements Do Not Confer Eligibility

      Before the district court, Eolas argued that its claims addressed two problems:

“limitations in the computing power of end users’ computers” and “security.”

Appx18; Appx19678. The district court correctly rejected both. Appx18-25. Now,

on appeal, Eolas shifts its approach, contending that its claims are non-abstract

because they purportedly provide three benefits: enhanced “interactivity, scalability,

and security.” Blue Br. 1, 17-21, 29-35. This refashioned argument still fails

because the claims provide no specific technological improvement in computer

capabilities—any benefits stem from the abstract idea itself, namely “enabling

interactivity with remote objects on a client computer browser using distributed

computing.” Appx10.

             1.     The Claims Provide No Specific Technological
                    Improvement In Interactivity

      Eolas first asserts the claims provide “[i]mproved Web interactivity.” Blue

Br. 17-19, 31-34. As Eolas admits, the patent explains that the reason for limited

interactivity (the problem being overcome) was insufficient processing power (e.g.,

to handle “large data objects”), and the purported solution is using “distributed”

computing to “br[eak] up” the tasks over multiple computers. Blue Br. 17-19, 32;

supra at 5-6. But allowing interactivity in web browsers using distributed computing


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is the abstract idea. So the benefits that Eolas identifies cannot confer eligibility as

they “flow from performing [the] abstract idea.” BSG, 899 F.3d at 1288.

      Eolas also argues that the patent “improve[s] interactivity” by “relocat[ing]”

(“embed[ing]”) the interactive content within webpages and the interactive-content

application to the web browser—i.e., the browser is “‘configured to’” provide

interactive content. Blue Br. 31-33 (citation omitted). But that, again, restates part

of the abstract idea—allowing interactivity in browsers. And neither Eolas nor the

claims provide any details—let alone technological improvement—explaining how

such embedding (or relocation) should be done or any particular “structural change.”

Id.   Instead, all ways of achieving the desired embedded interactivity are

encompassed by the generic and functional claim language. See Free Stream, 996

F.3d at 1362-63 (ineligible claims recited “process[ing] an embedded object” and

“execut[ing] a sandboxed application in the executable environment”). Indeed, as

Eolas itself argued during claim construction, “the claims themselves are silent as to

how or why a Web browser is configured the way it is.” Appx4943; see Appx4939

(arguing “configured” simply means “enabled to,” meaning these limitations

encompass any configuration and are limited to none).

      Eolas similarly argues that the browser “detect[s]” the type of object to be

displayed and then automatically “select[s]” and invokes the appropriate interactive

application to display it. Blue Br. 33-34. But the claims recite no particular or



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technologically improved way of doing so. At this generic level, the patent itself

recognizes that was conventional and well-understood. Appx68-69 (3:5-21, 6:27-

33). And Eolas and its expert made clear that the concept of “type information”

(associating applications with data types)—discussed in the specification and

unasserted claims—“is not dealt with in claims 19-45.”               Appx4943-4944;

Appx12030-12031; see Appx6533-6535 (construing claims as not requiring

“predetermined” applications).6

       Eolas, therefore, cannot rely on such “unclaimed features” from the

specification (or elsewhere) to support eligibility. Am. Axle & Mfg., Inc. v. Neapco

Holdings LLC, 967 F.3d 1285, 1293 (Fed. Cir. 2020). Moreover, this Court has held

that identifying attributes of computer information and then automatically

performing certain actions based on those attributes is an abstract concept. See, e.g.,

PersonalWeb Techs. LLC v. Google LLC, 8 F.4th 1310, 1315-17 (Fed. Cir. 2021)




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       See Appx17455 (Eolas’s expert: prior art Mosaic “downloaded” files to be
opened with “appropriate ‘helper application,” launched by browser); Appx19967-
19968 (Andreessen, co-creator of Mosaic: Mosaic launched “external viewers or
processed internally” for objects “like audio and MPEG” video); Appx15623-15624.
Eolas selectively quotes Mr. Andreessen, suggesting that “conventional wisdom”
was that no executables should be launched on the client. Blue Br. 32. But, per the
’507 patent, browsers already could launch helper application executables on the
client. The portion omitted by Eolas makes clear that Mr. Andreessen was concerned
with launching of “arbitrary,” rather than known, executables. Appx19971.
Moreover, his lone view was not shared by all—others were working on “allowing
arbitrary embedded ‘things.’” Appx19967.

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(managing data based on “content-based identifier”); Symantec, 838 F.3d at 1316-

19 (performing actions based on e-mail attributes).

             2.     The Claims Provide No Specific Technological
                    Improvement In Scalability

      Eolas’s argument that the claims provide “[i]mproved Web scalability,” Blue

Br. 20, 33-35, also fails. As Eolas admits, any improved “scalability” is the natural

result of using distributed processing. According to Eolas, the claims’ use of

“‘distributed’” computers “improved the scalability” because “end users would be

‘able to use a vast amount of computing power beyond that which is contained in

the user’s client computer.’” Blue Br. 32-33 (quoting Appx78 (cl. 32); Appx69

(6:57-67)). And Eolas contends that certain claims (claim 45 and the dependent

claims) further address scalability by using computers to coordinate and work

together to perform the tasks. Blue Br. 34-35 (citing Appx77-79 (claims 24, 26, 37,

39, and 45)).     But that is the result of dividing up labor through distributed

computing—again, part of the abstract idea, which does not confer eligibility. SAP,

898 F.3d at 1163; BSG, 899 F.3d at 1288; Appx19, Appx25-30.

      Moreover, the ’507 patent never identifies “scalability” as a technological

problem it solves. Supra at 5-6. Nor did Eolas (and its expert) when first addressing

the claims’ focus in the district court. Supra at 11, 23-24. Scalability is not the

focus. See Simio, 983 F.3d at 1362 (rejecting patentee’s purported advance where

specification pays “relatively little attention” to it). Likewise, the claims do not


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provide any specific technological solution to this alleged and unidentified problem

of “scalability.” The claims recite only results: “coordination computers perform[]

coordination” (claim 37); “task is broken up and performed” among computers

(claim 38); “computers work together to perform the at least one task” (claim 39);

“coordinating by the one or more computers” (claim 45); “coordinating … to enable

the separate computers to work together” (claim 45); and “generating and sending

… commands … to coordinate activity” (claim 45). Appx78-79; see Appx19,

Appx25-30. The claims recite no specific method for how to perform coordination,

how to break up a task, or how computers work together on a task, let alone methods

that definitively provide scalability. Thus, “scalability” does not save the claims.

See Two-Way Media, 874 F.3d at 1338 (claims that did not “indicate how [they were]

directed to a scalable network architecture that itself leads to an improvement in the

functioning of the system” were abstract).

      Eolas argues that “Figures 6 and 10” illustrate how the computers coordinate

and distribute information, and that the district court erroneously disregarded them.

Blue Br. 20, 52-53. Eolas is wrong. As the district court explained, the figures “do

not teach specifically how to distribute the computing work required to enable

interactivity on the client computer, or how to coordinate such computing work, in

a manner that would circumvent the client computer’s computing limitations.”

Appx20; see Appx62 (Fig. 6), Appx66 (Fig. 10). Moreover, as the district court also



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held, the specification states those figures are “illustrative”—they do not limit the

claims. Appx74-75 (16:7-17:3). And this Court has “repeatedly held that features

that are not claimed are irrelevant as to step 1 or step 2 of the Mayo/Alice analysis.”

Am. Axle, 967 F.3d at 1293; see also, e.g., Yu v. Apple Inc., 1 F.4th 1040, 1044-45

(Fed. Cir. 2021) (“mismatch between the specification” details “and the breadth” of

the claim “underscores that the focus of the claimed advance is the abstract idea”);

ChargePoint, Inc. v. SemaConnect, Inc., 920 F.3d 759, 769 (Fed. Cir. 2019) (“[T]he

specification cannot be used to import details from the specification if those details

are not claimed.”); Ericsson Inc. v. TCL Commc’n Tech. Holdings Ltd., 955 F.3d

1317, 1325, 1327-28 (Fed. Cir. 2020) (rejecting patentee’s “reference to ‘a specific,

layered software architecture’” because it did “not appear in the claims” (record

citation omitted)).

      For this same reason, Eolas is wrong to argue that claim 45—which is

admittedly “similar in scope to” claim 39—recites “viewing transformations [that]

help provide the 3D view depicted in the specification’s Figures 9 and 10.” Blue Br.

35. Eolas successfully argued that “viewing transformations” are not limited to 3D

transformations like those in the specification, but instead encompass any

“operations performed on data for visual display to a user.” Appx6551. Once again,

Eolas cannot have it both ways—having refused to limit its claims to any particular

ways of achieving their functional results, it cannot now inject such details to satisfy



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§ 101. That approach is foreclosed by this Court’s precedent, and the district court

properly rejected it. See Appx29-30 & nn.9-10.

             3.     The Claims Provide No Specific Technological
                    Improvement In Security

      Eolas’s contention that its claims provide “[i]mproved Web security,” Blue

Br. 19-20, 34, is meritless. There is “no indication in the intrinsic evidence that the

claimed invention was intended to solve any security vulnerabilities”—nothing in

the claims nor the specification addresses “preventing hackers from gaining control

over a client computer.” Appx21. Indeed, the words “security” and “secure” appear

nowhere in the patent. Appx21. And Eolas and its expert never mentioned security

during claim construction or when first identifying the claims’ focus. Supra at 11-

12, 23-24.

      Searching for some hook, Eolas argues that the “configured with” clause

specifically requires technology that secures against the browser running dangerous

applications. Blue Br. 19-20, 34; Appx17400. Not so. As the district court correctly

found, this clause simply configures the web browser with a plurality of applications

to enable interaction in a webpage; it says nothing of preventing those applications

from being dangerous. Appx21. Indeed, Eolas’s founder and named inventor Dr.

Doyle admitted that the claims simply “allow the browser to be configured with a

number of … interactive content applications that are known to be safe.”

Appx21543-21545 (123:15-125:17) (emphasis added). He agreed that the claims do


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not recite that “the browser has to know that the interactive content applications are

safe,” and that one could “do a poor implementation of [the patent] that could launch

unsafe applications.” Appx21547 (127:7-25); see also Appx21457 (examiner noting

that ancestor patent with same specification was “insecure system”). This confirms

that security is irrelevant to the scope of the claims, which can be implemented in

either a secure or unsecure way.

      Further, Eolas’s infringement theories underscore the complete lack of

security features in the claims. All of Eolas’s infringement allegations are based on

JavaScript, which has known security drawbacks. As Eolas’s expert acknowledged,

JavaScripts “are delivered from a remote source and run on a user’s computer,”

which, he admitted leads to “concern[s]” about “whether you are being adequately

protected by running that remote program.” Appx21468-21469, Appx21472 (75:22-

76:19, 79:4-22).    He further admitted the security “vulnerabilities that were

associated with JavaScript” include the potential for “malicious” activities. See

Appx21467-21472 (74:1-79:22). But Eolas identifies nothing in the claims (or

specification) that provides a specific implementation to secure a client’s computer

from malicious JavaScript. Defendants raised this point in their reply in the district

court (Appx21360-21361), and Eolas ignored it.

      Lacking any “security” enhancement in the patent, Eolas turns (for the first

time on appeal) to a discussion during prosecution. Blue Br. 8-9, 19-20, 30-31, 34.



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Having not raised below, this argument is waived. See Athena Diagnostics, Inc. v.

Mayo Collaborative Servs., LLC, 915 F.3d 743, 756 (Fed. Cir. 2019); Fresenius

USA, Inc. v. Baxter Int’l, Inc., 582 F.3d 1288, 1295-96 (Fed. Cir. 2009). In any

event, Eolas mischaracterizes that this prosecution discussion was about “the

asserted claims.” Blue Br. 41. In actuality, it was exclusively about one claim (and

claim feature) that is not asserted here. The applicant argued that claim 14 (which

ultimately issued as unasserted claim 1) “provides enhanced security” because it

recited, among other features, a “data structure” that controls the browser’s selection

of the interactive-content application, has associations from data types to

corresponding interactive-content applications for those data types, and is accessible

to the web browser before receiving any information. Appx12842; see Appx12836-

12846. Claim 1 is not asserted and the asserted claims do not recite this “data

structure.”7 Moreover, the applicant expressly stated that its comments were “not

meant to limit or describe the other pending claims of the present application in any

manner.” Appx12845 (emphasis added); see Appx12837-12845.                        Thus,

unsurprisingly, Eolas has never suggested (in district court or here) that the asserted

claims are limited by those prosecution statements. So any argument about an

unclaimed feature found only in an unasserted claim is not relevant here. See



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      Eolas and its expert made clear that the concept of “type information”
(associations to data types) is not in the asserted claims. Supra at 37-38.

                                          44
Symantec, 838 F.3d at 1321-22 (features in other claims not relevant); Am. Axle, 967

F.3d at 1393-94.

      The glaring lack of any reference to security in the ’507 patent also

distinguishes Eolas’s cited security-focused cases. Blue Br. 40-42. For example, in

SRI International, Inc. v. Cisco Systems, Inc., the patent described how networks

were “‘vulnerable to attack’” and explained that the invention was specifically

“directed to solving these weaknesses” by providing “‘a framework for the

recognition of more global threats to inter-domain connectivity, including

coordinated attempts to infiltrate or destroy connectivity across an entire network

enterprise.’” 930 F.3d 1295, 1303-04 (Fed. Cir. 2019) (citations omitted). This

Court found the claims were “directed to using a specific technique—using a

plurality of network monitors that each analyze specific types of data on the network

and integrating reports from the monitors—to solve” the problems. Id. at 1303.

Likewise, in Ancora Technologies, Inc. v. HTC America, Inc., the claims “assign[ed]

certain functions to particular computer components and ha[d] them interact in

specified ways.” 908 F.3d 1343, 1344-45 (Fed. Cir. 2018). In particular, “[t]he

asserted innovation of the patent” was storing the license record in the “BIOS




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memory,” which was specifically claimed, and which the patent explained provided

a security benefit. Id. at 1345-46.8

       Here, by contrast, the ’507 patent never mentions security or identifies a

specific security issue, and does not claim a specific way to provide the purported

security—as discussed. Appx22-23 & n.8 (distinguishing security cases); supra at

42. As the district court noted, “relying on a solution to a problem that was not

disclosed in the patent would essentially reward Eolas’ failure to disclose that

purported solution in the patent, which would be inconsistent with the underlying

goal of the patent system.” Appx23. Notably, this Court has held ineligible other

claims that actually did purport to improve security. E.g., Universal Secure Registry,

10 F.4th at 1349-52; Ericsson, 955 F.3d at 1325-26. Because Eolas’s claims do not

do even that, Eolas’s invocation of unclaimed and unstated security enhancements

cannot save its asserted claims.

             4.     Eolas’s Remaining Citations Are Also Inapposite

       The asserted claims are also not like the type of specific improvements to

computer operations or network functionality that this Court found eligible in the

other cases Eolas cites. Blue Br. 35-37.



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      See also Finjan, Inc. v. Blue Coat Sys., Inc., 879 F.3d 1299, 1305-06 (Fed.
Cir. 2018); TecSec, Inc. v. Adobe Inc., 978 F.3d 1278, 1296 (Fed. Cir. 2020);
CosmoKey Sols. GmbH & Co. KG v. Duo Sec. LLC, 15 F.4th 1091, 1099 (Fed. Cir.
2021) (all providing specific security improvements).

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      In Koninklijke KPN N.V. v. Gemalto M2M GmbH, the patent described a

specific deficiency of prior art check data generators: they did not reliably detect

systematic errors because their generating function was fixed. 942 F.3d 1143, 1146-

47 (Fed. Cir. 2019) (“KPN”). The patent sought to solve this “by varying the

generating function used to produce the check data.” Id. at 1147. Rather than

claiming merely, e.g., “a varying device configured to” vary the generating function,

the KPN claims recited a specific solution. Id. As this Court explained, “the claims

do not simply recite, without more, the mere desired result of catching previously

undetectable systematic errors, but rather recite a specific solution for accomplishing

that goal—i.e., by varying the way check data is generated by modifying the

permutation applied to different data blocks.” Id. at 1147-48, 1150-51. Thus, the

KPN claims “capture[d] the inventors’ asserted technical contribution … by reciting

how the solution specifically improves the function of prior art error detection

systems”—an undisputed technological improvement. Id. at 1151. This is a far cry

from the generic, functional, and non-specific “configured to” language here, which

recites no technical solution at all, but simply divides up labor among prior art

computer components.

      In Visual Memory LLC v. NVIDIA Corporation, the claims recited a

purportedly improved computer cache memory system with a “programmable

operational characteristic” that allowed the memory to operate seamlessly and



                                          47
efficiently with different types of processors. 867 F.3d 1253, 1255-57 (Fed. Cir.

2017).   In contrast, Eolas’s claims do not specifically improve the computer

components (memory or otherwise) and instead use admittedly generic computers

and network technology, without making any improvements to that generic

technology. Supra at 6-7, 24, 34-35. Eolas relies on the fact that, in Visual Memory,

the patent included a microfiche appendix with sample computer code, arguing that

the ’507 patent’s attached microfiche appendix supports eligibility. Blue Br. 37.

This is misleading at best. In Visual Memory, the Court faulted the district court for

finding the claim ineligible on a 12(b)(6) motion and the Court mentioned the

“microfiche appendix” in passing in the context of taking “all factual inferences …

in favor of the [patentee].” 867 F.3d at 1261.

      By contrast, here, the case traveled far past the pleadings and claim

construction already happened. Eolas did not—and could not—suggest that the

claims were limited by any code in the microfiche appendix. See Appx70 (7:64-8:6)

(specification’s “source code” in “microfiche Appendices” implements “specific

embodiment”); supra at 11-12 (Eolas’s broad claim constructions). Indeed, until its

opening brief on appeal, Eolas never mentioned the microfiche—and never

presented a copy to the district court or this Court. This argument was, therefore,

waived—and, regardless, is but another example of Eolas improperly relying on

unclaimed details in the specification. See Symantec, 838 F.3d at 1322 (“‘[T]he



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complexity of the implementing software or the level of detail in the specification

does not transform a claim reciting only an abstract concept into a patent-eligible

system or method.’” (quoting Accenture Global Servs., GmbH v. Guidewire

Software, Inc., 728 F.3d 1336, 1345 (Fed. Cir. 2013)).

      D.     Eolas’s Remaining Step One Arguments Fail

             1.    The District Court Did Not “Overgeneralize” The Claims
                   Or Improperly Ignore The Web Limitations

      Eolas contends that the district court “overgeneralized” the claims and ignored

the “web” and “configured to” limitations. Blue Br. 25, 43-44. Not so. The district

court properly examined the claims as a whole (including every limitation that Eolas

identified) and summarized their central focus—i.e., “enabling interactivity with

remote objects on a client computer browser using distributed computing.” Appx11;

see Appx11-30; supra at 13-15.

      This Court routinely does the same, even with claims longer than Eolas’s.

See, e.g., Ericsson, 955 F.3d at 1325-26 (stripped of “technical jargon,” claims

directed to “abstract idea of controlling access to, or limiting permission to,

resources”); Electric Power, 830 F.3d at 1351-52 (“lengthy and numerous” claims—

longer than even Eolas’s—were directed to abstract idea of “collection, analysis, and

display of available information”); Aftechmobile, 853 F. App’x at 669-70 (“lengthy”

claims—again longer than Eolas’s—were directed to “‘enabling the creation of

mobile applications without coding by combining pre-coded software components’”


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(citation omitted)). And, as discussed, Eolas and its own witnesses recognized that

the claims focus on “serving distributed interactive applications on the [web].”

Appx3564 (Eolas’s MSJ); supra at 11, 23-24.

      That the district court’s articulation of the abstract idea does not specifically

mention the “web” does not mean that the court ignored those limitations. Rather,

the court expressly held that “the ‘World Wide Web’ limitations in the asserted

claims merely require a particular technological environment,” and thus cannot

confer eligibility.   Appx34; see also Appx11 (“the web browser selects and

automatically invokes”; “interact with the object within a web page”), Appx33-34

(discussing web limitations).    The claims’ central concept is abstract whether

performed on the web or on the Internet more generally—such “minimal narrowing”

does not matter. BSG, 899 F.3d at 1287; supra at 19, 32-33. And whether adding

the web to the claims was sufficient to distinguish them over prior art “is of no

relevance” to eligibility. Symantec, 838 F.3d at 1315 (citation omitted).

      Nor did the district court ignore the “configured to” limitations. Blue Br. 48-

50. Instead, each “configured” limitation corresponds precisely to the court’s

recitation of the abstract idea. The court correctly held that the “configured”

limitations claimed only results and failed to specify how to provide any specific

configuration. Appx12-13. As noted, Eolas itself argued during claim construction




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that “the claims themselves are silent as to how or why a Web browser is configured

the way it is.” Appx4943; see supra at 37; Appx4939.

       Accordingly, this case is unlike TecSec (cited at Blue Br. 43-44), where this

Court rejected a recitation of an abstract idea that “disregard[ed] elements of the

claims at issue that the specification ma[de] clear are important parts of the claimed

advance in the combination of elements.” 978 F.3d at 1294. Here, the purportedly

disregarded elements are not treated as an important part of the claimed advance—

and do not “change the claim’s ‘character as a whole” from one directed to an

abstract idea to one that’s not.” Simio, 983 F.3d at 1362 (citation omitted).

             2.     Merely Purporting To Improve Computers, Without
                    Explaining How, Is Not Enough

       Eolas hypothesizes (without support) that if “Web users in 1994” were asked

“would enabling interactivity with remote objects on your browser using distributed

computing constitute a new and useful improvement of your computer network,”

they would answer yes. Blue Br. 46-47. But the immediate next question would be:

“How do you do that?” Eolas and its asserted claims never say.9

       At bottom, “‘[a] claim for a new abstract idea is still an abstract idea,’” which

is why Eolas’s hypothetical does not bear on eligibility. SAP, 898 F.3d at 1163


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       Eolas observes that the inventors “wrote ‘375 pages of [s]ource code.’” Blue
Br. 46. But the vast majority is prior art Mosaic source code, which they did not
write. See Appx70 (8:1-4), Appx73 (13:49-56). Regardless, those details are not in
the claims—and therefore cannot confer eligibility. Supra at 48-49.

                                          51
(citations omitted). If Eolas’s reasoning were the law, then any patent claim

purporting to improve computer technology would be eligible. Yet this Court has

repeatedly found such claims ineligible. Supra at 26-29, 33; see also PersonalWeb,

8 F.4th at 1315 (ineligible claims purportedly improved networks by “allow[ing] a

computer within a network … to locate and distribute data without knowing either

the file system of any device within the network or the conventional name of any

data item”); Internet Patents Corp. v. Active Network, Inc., 790 F.3d 1343, 1344-45

(Fed. Cir. 2015) (ineligible claims purported to improve systems with better online

forms).10

        Eolas contends that § 101 does not require patentees to explain “how” to

implement their purported inventions. Blue Br. 48-49. But that argument is

foreclosed by this Court’s precedent, which has repeatedly held that claims must

provide sufficient specificity—the crucial “how”—to satisfy § 101. See Am. Axle,

967 F.3d at 1302 (§ 101 “‘how’ requirement[] … is that the claim itself … must go

beyond stating a functional result; it must identify ‘how’ that functional result is

achieved”); supra at 19-20, 26-29.




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       Eolas argues that the district court conceded that the claims solve the problems
of limited processing capacity by using the phrase “claimed invention” when
discussing the contents of the specification. Blue Br. 48. In context, the court was
referring to the specification’s disclosures, not what the claims require. Appx5-6,
Appx14-15, Appx19-20, Appx22.

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      Likewise, Eolas’s invocation of the principle that “‘a patent need not teach,

and preferably omits, what is well known in the art,’” misses the mark. Blue Br. 48-

49 (quoting Visual Memory, 867 F.3d at 1261). Eolas cannot argue on one hand that

the claims provide specific technological improvements and on the other omit the

details of those very purported improvements from the claims. See, e.g., Ericsson,

955 F.3d at 1328 (“Merely claiming ‘those functions in general terms, without

limiting them to technical means for performing the functions that are arguably an

advance,’ does not make a claim eligible at step one.” (citation omitted)). Indeed,

as discussed, Eolas deliberately sought—and secured—broad, functional claim

constructions to avoid such details. Supra at 11-12. Eolas must live with that

strategic choice. Just as there was not enough “how” in cases such as Interval

Licensing, Aftechmobile, Two-Way Media, Affinity Labs I and II, Simio, and Free

Stream, there is not enough here.

      The district court correctly held that the claims are directed to the abstract idea

of enabling interactivity with remote objects on a client computer browser using

distributed computing.

II.   THE ASSERTED CLAIMS ADD NOTHING INVENTIVE AT ALICE
      STEP TWO

      At Alice step two, the Court must determine whether the claims add something

significant “apart from” the abstract idea—an inventive concept that “transform[s]

the abstract idea … into a patent-eligible application.” Chamberlain Grp., Inc. v.


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Techtronic Indus. Co., 935 F.3d 1341, 1348-49 (Fed. Cir. 2019); see ChargePoint,

920 F.3d at 774 (claims must add “‘significantly more’” than use of “abstract idea

itself” (citation omitted)). Eolas’s asserted claims do not. Appx30-36.

      A.     The Claims Require Only Admittedly Generic Computer And
             Network Components

      Eolas’s claims recite only generic computing components (server computer,

client computer, web browser, distributed application computers, and coordination

computers) and generic computing functions (receiving, transferring, detecting,

displaying, selecting, invoking, and coordinating). See Appx77-79 (cls. 19, 24, 26,

32, 37, 39, 45); supra at 6-9. The district court so held, Appx32, and Eolas does not

dispute that on appeal.

      The specification admits as much: the computers and servers are generic and

distributed computing, distributed clients and servers, the Internet, the web,

webpages, web browsers, and web protocols were all well-known, as the district

court found. Appx32-33 & n.13; supra at 6-7. Likewise, Eolas’s witnesses admitted

that these components are not improved computers, their functions are routine and

conventional, and the coordinated distributed processing of the ’507 patent was well-

known and common at the time. Supra at 6-7, 24, 34-35.

      Thus, the claimed components and functions are the same “basic functions of

a computer” and “purely functional and generic” computer and network components

that courts have found merely automate the abstract idea in a “particular


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technological environment”—which is insufficient to add an inventive concept.

Alice, 573 U.S. at 225-26 (citation omitted); see, e.g., Two-Way Media, 874 F.3d at

1339 (multiple network components and protocols for sending and receiving

packetized data are non-inventive); PersonalWeb, 8 F.4th at 1319 (“merely adding

computer functionality to increase the speed or efficiency of the process” or

“mak[ing] more efficient traditional … methods” is non-inventive (citations

omitted)); SAP, 898 F.3d at 1170 (use of “‘parallel processing’ computing

architecture” is “generic,” not inventive); Capital One, 792 F.3d at 1369-70 (“adding

computer functionality to increase the speed or efficiency of the process” adds

nothing inventive and “‘interactive interface configured to provide dynamic web’”

content is a “generic computer element” (quoting patent)); Free Stream, 996 F.3d at

1366 (“[p]rocessing an ‘embedded object’ … or rendering targeted data ‘through a

sandboxed application of a mobile device[]’” using “internet-connected device” is

non-inventive).

      The other features recited in the claims also add nothing inventive. First, the

claimed “interactive-content application,” Appx77-79 (cls. 19, 32, 45), is a purely

functional, aspirational, black box tasked with performing the abstract idea of

enabling interactivity with remote objects in a browser using distributed computing.

It requires no particular, let alone inventive, configuration or programming. The

“interactive-content application” reflects “the abstract idea itself, which ‘cannot



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supply the inventive concept.’” Simio, 983 F.3d at 1363-64 (quoting BSG, 899 F.3d

at 1290); see also Capital One, 792 F.3d at 1370-71 (reciting “‘software’ ‘brain’”

configured to perform abstract idea is non-inventive); Appx15502 (Doyle Dep. 15:1-

6) (“Q. What do you view to be innovative regarding the combination of elements

that you just recited from Claim 19? … A. The functionality provided by the system

described in Claim 19 is the innovative capability.”); Appx4966 (¶ 37) (Eolas’s

expert: “the idea of interactive-content applications … was known” to skilled

artisans).

       Second, reciting that computers coordinate and work together on tasks (as in

claim 45 and the dependent claims) adds nothing inventive, and again reflects the

abstract idea. See Appx77-79 (cls. 24, 26, 37, 39, 45); supra at 30-35. The claims

neither recite nor require any specific improvement in technology to perform that

abstract idea.

       Third, claim 45’s “viewing transformations” limitation does not add anything

significant. As discussed, it was construed at Eolas’s urging to encompass any

“operations performed on data for visual display to a user.” Appx6551. It too is

nothing more than a generic aspect of providing interactivity—the abstract concept.

This Court routinely finds that such generic limitations for displaying data (or even

more specific ones) add nothing inventive. See, e.g., Electric Power, 830 F.3d at

1355-56 (“‘displaying concurrent visualization’ of two or more types of



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information” that is “time-synchronized” and in “real time” is “not even arguably

inventive”).

      Even when viewed “as an ordered combination,” the claims “ad[d] nothing …

that is not already present when the steps are considered separately.” Alice, 573 U.S.

at 225 (citations omitted). For example, the claims’ arrangement is like the ineligible

claims in Electric Power, which likewise did not “require any nonconventional

computer, network, or display components” and had no “non-generic arrangement.”

830 F.3d at 1355. And like the claims here, those “merely call[ed] for performance

of the claimed … functions” without explaining “how the desired result is achieved.”

Id. Similarly, in Two-Way Media, although the claims purportedly “solve[d] various

technical problems, including excessive loads on a source server, network

congestion, … [and] scalability of networks,” they used only “generic functional

language to achieve these purported solutions”; this Court “s[aw] no inventive

concept in the ordered combination of these limitations.” 874 F.3d at 1339. And,

in IBM Corp. v. Zillow Group, Inc., the ineligible claims reciting coordinated

geospatial mapping, interactive user functionality, and synchronized displays added

nothing inventive because “‘individually or in combination, the recited limitations

neither improve the functions of the computer itself, nor provide specific

programming, tailored software, or meaningful guidance for implementing the

abstract concept.’” 50 F.4th 1371, 1380 (Fed. Cir. 2022) (quoting Intell. Ventures I



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LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1342 (Fed. Cir. 2017)). Here, too,

the asserted claims use only functional language without describing how to achieve

the results with any specific implementation—confirming they add nothing

inventive. E.g., supra at 22-23, 30-31, 35, 37, 51-55.

      For the same reasons, this case is unlike cases where a “specific

implementation” or “specific improvement” in computer technology supplied an

inventive concept. BASCOM Glob. Internet Servs., Inc. v. AT&T Mobility, LLC, 827

F.3d 1341, 1348-49 (Fed. Cir. 2016). For example, in Bascom, the claims were

saved at step two because they recited a “non-generic arrangement” by placing “a

filtering tool at a specific location” (the ISP server) that provided “a technical

improvement over prior art ways of filtering such content.” Id. at 1350. In DDR

Holdings LLC v. Hotels.com, L.P., the claims were eligible at step two because they

provided a specific technological improvement to the functioning of the network

itself—avoiding transporting users to a different location and instead providing a

hybrid webpage. 773 F.3d 1245, 1257-58 (Fed. Cir. 2014). The claims “specif[ied]

how interactions with the Internet are manipulated to yield a desired result.” Id. at

1258 (emphasis added).      And, recently, in Cooperative Entertainment, Inc. v.

Kollective Technology, Inc., “[d]rawing all inferences in favor of [the patentee]” on

a motion to dismiss, the claims were potentially eligible at step two because they

“recite[d] a specific technical solution” for improving network structure—“a



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particular arrangement of peer nodes for distributing content ‘outside controlled

networks and/or [CDNs].’” 50 F.4th 127, 133 (Fed. Cir. 2022) (cleaned up).

       By contrast, the claims here recite only conventional computer-implemented

steps and network architecture, without explaining how the desired results are

achieved—which add nothing inventive. Indeed, Eolas made sure of that, by

successfully advocating for wholly generic, functional constructions of the claims.

Supra at 11-12. The “distributed application computers” are merely “remote from

the client computer”—no particular or innovative architecture or network

technology is required. See Symantec, 838 F.3d at 1321 (distinguishing BASCOM,

which was decided “‘[o]n [a] limited record’” and “viewed in favor of the patentee”

(citation omitted); Affinity Labs I, 838 F.3d at 1262 (distinguishing DDR Holdings,

which “dealt with a patent that required doing something to a web page, not simply

doing something on a web page”); Appx34-36 (distinguishing BASCOM).

       In sum, “it is clear, from the claims themselves and the specification, that these

limitations require no improved computer resources [that the applicant] claims to

have invented, just already available computers, with their already available basic

functions, to use as tools in executing the claimed process.” SAP, 898 F.3d at 1169-

70. As Eolas’s claims add nothing inventive, the district court correctly held them

ineligible.




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      B.     Eolas Identifies Nothing Inventive

      Eolas’s step two arguments (Blue Br. 54-59) fail for three reasons.

      First, the purportedly unconventional features that Eolas identifies—browsers

configured with applications invoked to provide interactivity, and interactivity in

webpages (Blue Br. 55-56)—are tied to the abstract idea itself, which cannot supply

the inventive concept.    Simio, 983 F.3d at 1363-64; BSG, 899 F.3d at 1290.

Likewise, Eolas’s “combination of elements” boils down to applying the abstract

idea on the web. See Blue Br. 56-57. For example, Eolas identifies nothing in the

specification describing a technology-based solution that is specifically captured in

the claims’ combination of elements. Appx35-36. Step two turns on whether the

claims add anything inventive “apart from” the abstract idea, Chamberlain, 935 F.3d

at 1348-49 (citation omitted), and Eolas never undertakes that inquiry. Eolas’s

cursory step two analysis is flawed for that reason alone.

      Second, Eolas argues that the district court improperly “collapsed its step two

analysis into its analysis at step one.” Blue Br. 57. That is incorrect. The court’s

thorough discussion properly addressed—and rejected—the elements that Eolas

raised at step two. Appx30-36. The court first determined that the limitations that

Eolas relied upon “embody the abstract idea” itself, and thus could not add anything

inventive at step two. Appx32. That is squarely in line with this Court’s precedent.

Simio, 983 F.3d at 1363-64; BSG, 899 F.3d at 1290. To the extent the analysis



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overlapped, as the Court recently reiterated: “‘[T]he two stages are plainly related:

… many of our opinions make clear that the two stages involve overlapping scrutiny

of the content of the claims,’ …. As such, our precedent rejects … effort[s] to draw

a bright line between the two steps.” CareDx, Inc. v. Natera, Inc., 40 F.4th 1371,

1379 (Fed. Cir. 2022) (citation omitted).

      In any event, the district court did not stop there. It held, based on the

specification, that “[t]he remaining aspects of the asserted claims” required only

generic and basic components (e.g., client computers, servers, remote computers)

and functions (e.g., communication over the Internet, data processing, and transfer).

Appx32-33 & n.13. It also distinguished this Court’s decision in Bascom and

rejected Eolas’s other arguments. Appx33-36. The district court did not merge the

two steps, but properly analyzed each.

      Third, Eolas improperly conflates ineligibility under § 101 with novelty and

non-obviousness under §§ 102 and 103. Eolas insists that the district court’s ruling

rejecting an obviousness-type double patenting challenge somehow forecloses

finding the asserted claims non-inventive at step two or should have at least created

a fact issue. Blue Br. 57, 59. But the district court made no findings as to what was

or was not “routine” as Eolas asserts. Id. Rather, the court simply found that

Defendants submitted “no evidence” of prior art with that motion demonstrating that

it was “routine” in the prior art to perform the functions on the web. Supra at 13.



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Thus, the court held that Defendants had not met their burden on that motion because

the asserted claims were limited to the web context. Appx13643.

      Regardless, as the court properly found (Appx33-34), obviousness and

eligibility are “separate issues.” Two-Way Media, 874 F.3d at 1339-40. This Court

frequently finds claims ineligible as a matter of law despite being novel, non-

obvious, or even “[g]roundbreaking.” SAP, 898 F.3d at 1163; see Simio, 983 F.3d

at 1364; Symantec, 838 F.3d at 1311, 1315; Affinity Labs I, 838 F.3d at 1263.

Moreover, this Court routinely holds that reciting a claimed invention on the Internet

merely confines it to a particular technological environment, which adds no

inventive concept. Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 716 (Fed. Cir.

2014) (“[U]se of the Internet is not sufficient ….”); Capital One, 792 F.3d at 1366

(“An abstract idea does not become nonabstract by limiting the invention to a

particular … technological environment, such as the Internet”). Here, too, the

“World Wide Web” limitations—even if different from prior art—require only a

particular technological environment and, as a matter of law, cannot confer

eligibility. Appx34.

      The district court correctly held that the claims add nothing inventive apart

from the abstract idea and, thus, granted summary judgment for lack of patent

eligible subject matter under § 101.




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                               CONCLUSION

     The district court’s judgment should be affirmed.

Dated: December 15, 2022                    Respectfully submitted,

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      Pursuant to Federal Rule of Appellate Procedure 32(g)(1) and Federal Circuit

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